 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 1 of 39 PageID #:21414




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 HESTOR MENDEZ and GILBERT
 MENDEZ for themselves and on behalf
 of their minor children, PETER
 MENDEZ AND JACK MENDEZ,
                                                   No. 18-cv-5560
               Plaintiffs,
                                                   Judge Franklin U. Valderrama
        v.

 THE CITY OF CHICAGO, et al.,

               Defendants.

                                         ORDER 1

      On the evening of November 7, 2017, Chicago Police Officers executed a search

pursuant to a warrant at the apartment of Hestor Mendez and Gilbert Mendez

(together, the Mendezes). The target of the warrant, however, actually lived in the

upstairs apartment. The Mendezes, individually and on behalf of their minor children

Peter and Jack (collectively, Plaintiffs), sued the City of Chicago (the City), several

Chicago Police Officers—Officers Cappello, Donnelly, Hernandez, Guzman, and

Sehner—who procured and/or executed the search warrant (Defendant Officers), and




1Portions  of the parties’ briefs were filed under seal. Because this Order may contain
privileged information that was submitted to the Court under seal, the Court will issue its
Order under seal so the parties may meet and confer with one another about proposed
redactions. The parties are to file a joint position statement by March 3, 2025, explaining
what (if any) redactions are needed in the text of the Order, and why (bearing in mind the
strict standard against secret filings, see generally Mitze v. Saul, 968 F.3d 689 (7th Cir.
2020)). That position statement may be filed under seal. After considering the proposed
redactions, the Court will unseal this Order (if no redactions are requested/warranted) or
issue a public, redacted version of the Order.
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 2 of 39 PageID #:21415




Sergeant Egan2 and Lieutenant Dari the supervisors who approved the warrant

(collectively, Defendants) under 42 U.S.C § 1983 and under state law. R. 125, Fourth

Am. Compl. 3 Defendants’ motion for summary judgment and Plaintiffs’ cross-motion

for partial summary judgment are before the Court. R. 542, Defs.’ Mot. Summ. J.; R.

544, Pls.’ Cx-Mot. Summ. J. In this Order, the Court addresses the parties’ cross

motions as to Counts II and III as they relate to the procurement, not the execution,

of the search warrant. The Court will issue a subsequent order(s) addressing the

remaining Counts. For the reasons stated below, the Court grants Defendants’ motion

for summary judgment as to Counts II and III for unlawful search based on an invalid

search warrant and for supervisory liability related to the unlawful search.

                                      Background 4

       In deciding cross-motions for summary judgment, the Court views the facts in

the light most favorable to the respective non-moving party. See Hanners v. Trent,

674 F.3d 683, 691 (7th Cir. 2012); Adams v. Wal-Mart Stores, Inc., 324 F.3d 935, 937



2Sgt. Egan also was present during the execution of the warrant.


3Citations to the docket are indicated by “R.” followed by the docket number or filing name,

and, where necessary, a page or paragraph citation.

4This background is derived from the parties’ Local Rule 56.1 Statements of Material Facts,

and the responses and replies to those statements. See R. 436, Defendants’ Statement of Facts
(DSOF); R. 457 at 1–64, Plaintiffs’ Response to Defendants’ Statement of Facts (Pls.’ Resp.
DSOF); R. 457 at 64–111 at 13–18, Plaintiffs’ Statement of Additional Facts (PSOAF); R. 488,
Defendants’ Reply to their Statement of Facts (Defs.’ Reply DSOF); R. 489, Defendants’
Response to Plaintiffs’ Statement of Additional Facts (Defs.’ Resp. PSOAF); R. 574 at 1–176,
Pls.’ Reply to Plaintiffs’ Statement of Additional Facts (Pls.’ Reply PSOAF); R. 574 at 176–
77, Plaintiffs’ Supplemental Statement of Additional Fact (Pls.’ Suppl. PSOAF); R. 525,
Defendants’ Response to Plaintiffs’ Supplemental Statement of Additional Fact (Defs.’ Resp.
Pls.’ Suppl. PSOAF); R. 531, Plaintiffs’ Reply to Plaintiffs’ Supplemental Statement of
Additional Fact (Pls.’ Reply Pls.’ Suppl. PSOAF).
                                             2
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 3 of 39 PageID #:21416




(7th Cir. 2003). So, when the Court evaluates Defendants’ motion for summary

judgment, Plaintiffs gets the benefit of reasonable inferences; conversely, when

evaluating Plaintiffs’ partial motion, the Court gives Defendants the benefit of the

doubt. On summary judgment, the Court assumes the truth of the facts presented by

the parties, but does not “necessarily vouch[] for their accuracy.” Arroyo v. Volvo Grp.

N. Am., LLC, 805 F.3d 278, 281 (7th Cir. 2015) (cleaned up); see also Knopick v. Jayco,

Inc., 895 F.3d 525, 527 (7th Cir. 2018) (cleaned up) (“Given this summary judgment

lens, we do not vouch for the objective truth of all of these facts.”). This background

section details all material undisputed facts and notes where facts are disputed, to

the extent the disputed facts are supported by record evidence.

      Before turning to the facts themselves, the Court first addresses Defendants’

objection, raised in response to nearly all of Plaintiffs’ statements of additional fact,

that the paragraphs in Plaintiffs’ Statement of Additional Facts contain multiple

facts. As Plaintiffs point out in their reply in support of their additional facts, many

courts within this District have rejected similar objections. Pls.’ Reply PSOAF ¶ 1

(citing, inter alia, Banks v. Illinois Cent. R.R. Co., 2019 WL 3080923, at *3 (N.D. Ill.

July 15, 2019) (“Nothing in Rule 56.1 instructs parties to include only one fact per

paragraph”); Rivera v. Guevara, 319 F. Supp. 3d 1004, 1018 (N.D. Ill. 2018) (“The

court does not count facts or sentences mechanically . . . .”)). So too does this Court

overrule Defendants’ objections. Because the Court rejects Defendants’ arguments

based on the inclusion of multiple facts per paragraph, the Court accordingly does not




                                           3
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 4 of 39 PageID #:21417




consider Plaintiffs’ alternative argument to strike Defendants’ Statements of Fact

that contain multiple facts. See R. 468, Pl. Resp./Cx-Memo. at 1 n.1.

      On November 6, 2017, following a car chase by a marked police car that

resulted in a crash, Sgt. Egan and Officer Sehner arrested a man after finding 50-to-

80, 2-gram bags of heroin in his car, charging him with multiple charges, including

eluding the police, resisting arrest, and possession with intent to distribute. Pls.’

Reply PSOAF ¶ 5; Defs.’ Reply DSOF ¶ 5. The arrestee (John Doe) was a convicted

felon who had numerous convictions for possession and distribution of large

quantities of narcotics, and also had a pending criminal case as of the date of his

arrest. Pls.’ Reply PSOAF ¶ 5. While being processed on the same day, John Doe told

Sgt. Egan and Officer Cappello that he received the drugs from Curtis Roberts, for

whom he had been selling drugs for a year, and provided the officers other

information about Roberts and his girlfriend Patricka Cavazos. Id. ¶ 6; Defs.’ Reply

DSOF ¶ 6. John Doe referred to Roberts as his cousin. Defs.’ Reply DSOF ¶ 19. The

officers knew Roberts to be an individual heavily involved in dealing narcotics in the

11th District. Defs.’ Reply DSOF ¶ 6.

      Among other things, John Doe told Officers Cappello and Donnelly that he had

been in the second-floor apartment at 3557 S. Damen on November 4, 2017 and had

taken a gym bag from Roberts and Cavazos’ bedroom that contained four bags of

suspect heroin and cocaine. Defs.’ Reply DSOF ¶ 8. He also said that he had been in

that apartment on five separate prior occasions during which he also saw drugs and

money. Id. He told them that Roberts was in possession of “suspect heroin and



                                          4
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 5 of 39 PageID #:21418




cocaine.” Id. ¶ 9. John Doe also gave specific instructions as to how to get to the

Roberts/Cavazos apartment: he told them that to reach the target residence, the

officers were to make entry into the common area/foyer, open another door, and then

go up the flight of stairs and that the target residence would be the first door on the

right-hand side. Defs.’ Reply DSOF ¶ 10. Sgt. Egan re-interviewed John Doe and

received the same information that John Doe told Cappello. Id. ¶ 11. John Doe had

never served as an informant before, and neither Cappello, nor Sgt. Egan nor the

Chicago Police Department (CPD) had ever worked with him. Pls.’ Reply PSOAF ¶ 6.

      This was the first search warrant for which Officer Cappello was the affiant

officer, so Sgt. Egan supervised his investigation by walking him through the process

of what was needed for the search warrant, advising him to verify John Doe’s

information, re-interviewing John Doe, assisting him with having the Cook County

State’s Attorney’s Office felony review division and the judge review and approve the

search warrant. Defs.’ Reply DSOF ¶ 7.

      Officer Cappello entered the names and physical descriptions of John Doe into

two law enforcement databases, LEADS and I-CLEAR, to look for (a) photos of the

target(s) (I-CLEAR) to show John Doe, (b) any associated addresses (LEADS) and (c)

any previous arrest addresses (I-CLEAR). Pls.’ Reply PSOAF ¶ 8. Neither LEADS

nor I-CLEAR showed that Roberts or Cavazos lived at 3557 S. Damen Avenue. Defs.’

Resp. PSOAF ¶ 9; Defs.’ Reply DSOF ¶ 13. In fact, the I-CLEAR database showed

different Chicago addresses for Roberts and Cavazos. Pls.’ Reply PSOAF ¶ 9.




                                          5
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 6 of 39 PageID #:21419




      John Doe identified Roberts and Cavazos from their booking photos and the I-

CLEAR photos and identified the second-floor residence from photos of the residence

and from a video of the second-floor apartment that was obtained from a real estate

website. Defs.’ Reply DSOF ¶ 16; Defs.’ Resp. PSAOF ¶ 8. Per Sgt. Egan’s

instructions, Officers Cappello and Donnelly drove John Doe past the target location

twice during which he pointed out the second floor target. DSOF ¶ 18. This drive by

took about 3–4 minutes and took place when it was dark outside. Pls.’ Resp. DSOF ¶

18; Pls.’ Reply PSOAF ¶ 8.

      None of the Defendant Officers or Sgt. Egan conducted additional surveillance

(with the exception of Sgt. Egan as described below), searched other databases for

information about Roberts or Cavazos, or used subpoenas to obtain additional

information. PSOAF ¶¶ 9–12; Pls.’ Reply PSOAF ¶ 20. Nor did Sgt. Egan suggest that

Officer Cappello take additional investigative steps, even after he learned that

LEADS and I-CLEAR failed to verify Roberts and Cavazos’ address at the target

residence. Pls.’ Reply PSOAF ¶ 18.

      Officer Capello wrote the complaint for search warrant and search warrant,

with assistance from Sgt. Egan. DSOF ¶ 20; Pls.’ Resp. DSOF ¶ 20; Pls.’ Reply PSAOF

¶ 15. They presented the documents to Assistant State’s Attorney (ASA) Glen Runk

of Felony Review for review, but ASA Runk did not investigate or verify any of the

facts, as it was not his job to do so. DSOF ¶ 20; Pls.’ Resp. DSOF ¶ 20; Pls.’ Reply

PSOAF ¶ 21. While Officer Cappello was meeting with Felony Review, Sgt. Egan

conducted surveillance of 3557 S. Damen for about 15–20 minutes to see who was



                                         6
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 7 of 39 PageID #:21420




coming and going; he never exited the car. DSOF ¶ 22; Pls.’ Resp. DSOF ¶ 22. ASA

Runk ultimately approved the search warrant after speaking to Officer Capello and

Sgt. Egan. DSOF ¶ 23.

      On November 7, 2017, Officers Donnelly and Guzman took John Doe to the

courthouse, where Officer Cappello and Sgt. Egan presented John Doe to Cook

County Circuit Court Judge Burns. Defs.’ Reply DSOF ¶ 24. Judge Burns approved

the search warrant after asking questions and hearing sworn testimony from John

Doe in the presence of Sgt. Egan, Officer Cappello, and Officer Hernandez, regarding

John Doe’s arrest the night before, his criminal background, how many times he had

sold drugs for the target, and if he had been incarcerated. DSOF ¶ 25; see also Defs.’

Resp. PSOAF ¶ 22. Judge Burns did not ask Officer Cappello any questions about the

investigation. Pls.’ Reply PSOAF ¶ 22. Neither Officer Cappello nor John Doe

presented Judge Burns with any information outside of the complaint for search

warrant (which included John Doe’s criminal history). Id. The hearing took

approximately 5 minutes. Id.

      The complaint for search warrant did not state that that LEADS and I-CLEAR

did not confirm the address that John Doe had given Defendants, nor that Officer

Cappello orally told John Doe that he would “go to bat for him” with the State’s

Attorney to get lenient charges and/or sentencing. Pls.’ Reply PSAOF ¶ 23.

      Lt. Dari reviewed and approved the complaint for search warrant and search

warrant on November 7, 2017, after they were already approved by ASA Runk and

Judge Burns. Defs.’ Reply DSOF ¶ 26. Lt. Dari testified that he believed that there



                                          7
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 8 of 39 PageID #:21421




was sufficient probable cause to search the second-floor apartment at 3557 S. Damen.

DSOF ¶ 26.

         On November 7, 2017, Defendants executed the search warrant for the second-

floor apartment at 3557 S. Damen, which is where Plaintiffs live. Pls.’ Reply PSAOF

¶ 2. Roberts and Cavazos actually lived in the third-floor apartment at 3557 S.

Damen. Id. Defendants did not find any cocaine or heroin in Plaintiffs’ apartment,

did not recover any contraband, and did not arrest, charge or cite any Plaintiff. Id.

         Approximately four and a half five years after the raid, on January 27, 2022,

the City of Chicago’s Civilian Office of Police Accountability (COPA) completed an

internal affairs investigative report which sustained multiple allegations of

misconduct against Defendants in relation to the procurement and execution of the

search warrant, including that: (1) Cappello failed to adequately verify and

corroborate information provided by John Doe; (2) Sgt. Egan failed to ensure that

Cappello completed a thorough search warrant investigation; and (3) Lt. Dari failed

to ensure that Cappello verified and corroborated John Doe’s information by an

independent investigation prior to approving the search warrant. Pls.’ Suppl. SOAF

¶ 141.

         Plaintiffs sued the City, Chicago Police Officers—Cappello, Donnelly,

Hernandez, Guzman, Sehner, Sgt. Egan and Lt. Dari under 42 U.S.C § 1983 and

under state law. Fourth Am. Compl. Specifically, Plaintiffs assert the following

Section 1983 claims: (1) a Monell policy claim against the City related to Defendants’

alleged use of excessive force while executing the search warrant (Peter and Jack



                                           8
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 9 of 39 PageID #:21422




Mendez only) (Count I); (2) unlawful search against Defendants based on an invalid

search warrant and failure to “knock and announce” (Count II); (3) supervisory

liability against Sgt. Egan and Lt. Dari based on their supervision of the procurement

of the warrant (Count III); (4) unlawful search against Defendants based on their

warrantless entry and failure to retreat (Count IV); and (5) false arrest and false

imprisonment against Defendants (Count V). Plaintiffs bring the following state-law

claims against the City: (1) assault (Count VI); (2) battery (Gilbert Mendez only)

(Count VII); (3) false arrest and false imprisonment (Count VIII); (4) intentional

infliction of emotional distress 5 (Peter and Jack Mendez only) (Count IX); and (5)

trespass (Count X). Finally, Plaintiffs bring claims for respondeat superior and

indemnification against the City (Counts XI and XII).

                                  Legal Standard

      Summary judgment must be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). The party seeking summary judgment has the

initial burden of showing that there is no genuine dispute and that they are entitled

to judgment as a matter of law. Carmichael v. Village of Palatine, 605 F.3d 451, 460

(7th Cir. 2010); see also Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Wheeler v.

Lawson, 539 F.3d 629, 634 (7th Cir. 2008). If this burden is met, the adverse party

must then “set forth specific facts showing that there is a genuine issue for trial.”



5The Fourth Amended Complaint also alleged a claim for negligent infliction of emotional

distress, Fourth Am. Compl. ¶¶ 202–210), but Plaintiffs voluntarily dismissed that claim in
their Cross Motion/Response. Pls.’ Resp./Cx-Memo. at 52 n.54.
                                            9
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 10 of 39 PageID #:21423




Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine issue of material

fact exists if “the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Id. at 256. “The mere existence of a scintilla of evidence in

support of the [nonmovant’s] position will be insufficient; there must be evidence on

which the jury could reasonably find for the [nonmovant].” Parker v. Brooks Life Sci.,

Inc., 39 F.4th 931, 936 (7th Cir. 2022) (cleaned up). 6 In evaluating summary judgment

motions, courts must view the facts and draw reasonable inferences in the light most

favorable to the non-moving party. Scott v. Harris, 550 U.S. 372, 378 (2007). The court

may not weigh conflicting evidence or make credibility determinations, Omnicare,

Inc. v. UnitedHealth Grp., Inc., 629 F.3d 697, 704 (7th Cir. 2011), and must consider

only evidence that can “be presented in a form that would be admissible in evidence.”

Fed. R. Civ. P. 56(c)(2).

       On cross-motions for summary judgment, the Court “view[s] the facts and

draw[s] reasonable inferences in favor of the party against whom the motion at issue

was made.” Woodring v. Jackson Cnty., 986 F.3d 979, 984 (7th Cir. 2020). The

existence of cross-motions for summary judgment, however, does not imply that there

are no genuine issues of material fact. R.J. Corman Derailment Servs, L.L.C. v. Int’l

Union, Local Union, 150, 335 F.3d 643, 648 (7th Cir. 2003). As the Seventh Circuit

has explained, this is due to the parties’ differing burdens of proof. Id. Where . . . the

movant is seeking summary judgment on a claim as to which it bears the burden of



6This Order uses (cleaned up) to indicate that internal quotation marks, alterations, and

citations have been omitted from quotations. See Jack Metzler, Cleaning Up Quotations, 18
Journal of Appellate Practice and Process 143 (2017).
                                           10
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 11 of 39 PageID #:21424




proof, it must lay out the elements of the claim, cite the facts which it believes

satisfies these elements, and demonstrate why the record is so one-sided as to rule

out the prospect of a finding in favor of the non-movant on the claim.” See Hotel 71

Mezz Lender LLC v. Nat’l Ret. Fund, 778 F.3d 593, 601 (7th Cir. 2015). On the other

hand, where a plaintiff must prove all elements of a cause of action in order to succeed

at trial, a defendant prevails on summary judgment if it shows that the plaintiff

cannot prevail on any one of the elements. See, e.g., Domantas v. Menard, Inc., 2022

WL 204374, at *3 (N.D. Ill. Jan. 24, 2022).

                                        Analysis

         As stated above, the Court addresses in this Order Plaintiffs’ Fourth

Amendment claims related to the validity of the search warrant. Specifically, in

Count II Plaintiffs allege that Defendants “unreasonably obtained or approved a

search warrant for plaintiffs’ apartment, the wrong apartment, a fact which

invalidated the warrant from the start, prior to execution.” 7 Fourth Am. Compl.

¶ 139. In Count III, Plaintiffs allege that Sgt. Egan8 failed to properly supervise

Officer Cappello in his procurement of the search warrant, which led to the violation




7Count  II also alleges that Defendants “failed to ‘knock-and-announce’” in circumstances
where it was required. Fourth Am. Compl. ¶ 140. The Court will address that aspect of the
claim in a subsequent Order.

8The Fourth Amended Complaint alleges a supervisory liability claim against Sgt. Egan. See

Fourth Am. Compl. ¶¶ 154–161. In their sur-response/cross-reply, Plaintiffs request that the
Court construe Count III to be against Lt. Dari, or alternately indicate that they will seek
leave to amend the complaint prior to trial to add Lt. Dari to Count III. R. 575, Pls.’ Sur-
Resp./Cx-Reply at 49 & n.43. The Court addresses Plaintiffs’ request below.
                                            11
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 12 of 39 PageID #:21425




of Plaintiffs’ Fourth Amendment rights. The parties have cross-moved for summary

judgment on both counts.

   I.     Validity of the Search Warrant

        Defendants argue they are entitled to summary judgment on this claim

because the search warrant was supported by probable cause, and in the alternative,

they are shielded by qualified immunity. R. 438, Defs.’ Memo. at 9, 18. Plaintiffs

counter that they are entitled to summary judgment because the search warrant was

based on unreliable, uncorroborated evidence, and Defendants concealed from the

issuing judge key facts that undermined probable cause. Pls.’ Resp./Cx-Memo. at 33.

From Plaintiffs’ point of view, no reasonable officer would have believed that probable

cause existed, and therefore qualified immunity is inappropriate.

        “The Fourth Amendment requires that a warrant be supported by probable

cause.” Guzman v. City of Chicago, 565 F.3d 393, 396 (7th Cir. 2009). “Probable cause

is established when, based on the totality of the circumstances, the affidavit sets forth

sufficient evidence to induce a reasonably prudent person to believe that a search will

uncover evidence of a crime.” United States v. Peck, 317 F.3d 754, 756 (7th Cir. 2003).

When a judge evaluates the warrant affidavit and authorizes an arrest, the court

“presume[s] the validity of [the] warrant and the information offered to support it.”

Johnson v. Myers, 53 F.4th 1063, 1068 (7th Cir. 2022) (cleaned up). The court should

give “great difference” to the judge’s probable cause finding and “uphold that

determination so long as there is a substantial basis for concluding that a search

would uncover evidence of wrongdoing.” Edwards v. Jolliff-Blake, 907 F.3d 1052,



                                           12
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 13 of 39 PageID #:21426




1057 (7th Cir. 2018) (cleaned up). That presumption can yield, however, if the

warrant application was “so lacking in indicia of probable cause as to render official

belief in its existence unreasonable.” Johnson, 53 F.4th at 1068–69 (cleaned up). In

those circumstances, “even a facially valid arrest warrant does not shield otherwise

unreasonable conduct.” Id. at 1069 (cleaned up).

      “Where, as here, the affidavit supporting a search warrant relies on

information supplied by an informant, the analysis examines five primary factors (the

Glover factors), none of which is determinative by itself: ‘the level of detail, the extent

of firsthand observation, the degree of corroboration, the time between the events

reported and the warrant application, and whether the informant appeared or

testified before the magistrate.’” Edwards, 907 F.3d at 1057 (quoting United States v.

Glover, 755 F.3d 811, 816 (7th Cir. 2014)). Because no one factor is determinative, “a

deficiency in one factor may be compensated for by a strong showing in another or by

some other indication of reliability.” Peck, 317 at 756.

      A warrant’s presumption of validity also may give way “on a showing that the

officer who sought the warrant knowingly or intentionally or with a reckless

disregard for the truth, made false statements to the judicial officer, and that the

false statements were necessary to the judicial officer’s determination that probable

cause existed.” Johnson, 53 F.4th at 1069. This includes when an “officer

intentionally or recklessly withheld material facts from the warrant-issuing judge.”

Id. (cleaned up). But even these exceptions are “narrowly drawn by design” because




                                            13
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 14 of 39 PageID #:21427




a court should accord “great deference to the issuing judge’s determination of

probable cause.” Id. (cleaned up).

      Plaintiffs contend that Defendants acted in reckless disregard for the truth by

relying solely on John Doe’s statements because, from Plaintiffs’ perspective,

Defendants knew John Doe was “unreliable in every way.” Pls.’ Resp./Cx-Memo. at

33. Plaintiffs rely on the undisputed fact that John Doe had never served as an

informant before, and Defendants had no experience with him prior to his arrest on

November 6, 2017. Id. at 34. Additionally, point out Plaintiffs, Officers Cappello and

Sgt. Egan arrested John Doe following a high-speed car chase that resulted in a crash.

Id. John Doe was arrested with 80 bags of heroin pre-packaged for sale and was a

convicted felon with a “laundry list” of charges. Id. He gave the tip about Roberts

while he was in lockup, and in exchange for the tip, Cappello orally told John Doe

that he would “go to bat for him” with the State’s Attorney to get lenient charges

and/or sentencing. Id. Despite John Doe being a “completely untested informant of

dubious reliability who had obvious motives to lie,” Plaintiffs contend that

Defendants did not corroborate his statements, and the only attempt to corroborate—

the checks in LEADS and I-CLEAR—did not show that Roberts or Cavazos resided

at the target residence. Id. at 34–35.

      Predictably, Defendants take the position that the Glover factors are satisfied.

Specifically, Defendants argue that the affidavit includes a detailed firsthand account

of recent criminal activity that John Doe witnessed inside the target’s residence: John

Doe was inside the Roberts and Cavazos’ residence three days before the search



                                          14
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 15 of 39 PageID #:21428




warrant was executed, 9 at which time he observed a gym bag containing four large

bags of suspect heroin and cocaine inside of the targets’ bedroom. R. 490, Defs.’

Reply/Cx-Resp. at 30. It also details that John Doe had known Roberts for ten years

and Cavazos for two years, and that he had observed heroin and cocaine stored in the

same manner on five other occasions he was inside of the residence. Id. John Doe also

provided Officer Cappello information regarding Roberts’ narcotics activities which

he had knowledge of because he dealt drugs for Roberts for approximately a year

before November of 2017. Id. Defendants point out that John Doe’s information

regarding Roberts was consistent with Cappello’s prior knowledge that Roberts was

a well-known drug dealer in the 11th District. Id.; see also Pls.’ Sur-Resp./Cx-Reply

at 43 n.36. Officers Cappello, Donnelly, and Sgt. Egan interviewed John Doe multiple

times. Defs.’ Reply/Cx-Resp. at 31. John Doe positively identified Roberts and




9In a footnote, Plaintiffs argue that John Doe’s observation of drugs in the apartment was

stale. Pls.’ Resp./Cx-Memo. at 37 n.30. “Arguments in footnotes are typically waived.”
Sanders v. JGWPT Holdings, Inc., 2016 WL 4009941, at *10 (N.D. Ill. July 26, 2016); see also
J. Valderrama Standing Order, Memorandum of Law Requirements (“Generally, the Court
will not consider substantive arguments contained in footnotes. This includes the
distinguishing of cases relied upon by the opposing party.”). The Court notes that both parties
cite their own supporting caselaw and distinguish each other’s cited cases in many footnotes.
However, the parties’ briefs were filed before the case was reassigned to this Court, so the
Court will not enforce that rule and considers the cases cited in footnotes in each parties’
briefs. However, in future motion practice (including motions in limine) the parties should
keep the Court’s Standing Order requirements in mind. As for Plaintiffs’ argument about the
stale information, the Court cannot say that is a “substantive argument,” as it is more used
as an example of why John Doe’s information is unreliable. And no matter, because the Court
agrees with Defendants that, under Seventh Circuit precedent, John Doe’s firsthand
observation of narcotics two days before he provided information to Defendants and three
days before the search warrant was approved and executed is “certainly not stale.” Defs.’
Reply/Cx-Resp. at 30 n.5 (quoting See United States v. Searcy, 664 F.3d 1119, 1122 (7th Cir.
2011)); see also United States v. Orr, 969 F.3d 732, 737 (7th Cir. 2020) (controlled buy that
occurred “within days” of the search supported probable cause); United States v. Garcia, 528
F.3d 481, 487 (7th Cir. 2008) (“The information here was fresh (3 days old).”).
                                              15
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 16 of 39 PageID #:21429




Cavazos from photographs Officer Cappello obtained from the LEADS database, and

identified the residence from a photograph and video from a real estate website. Id.

Finally, during a drive by of the residence—which, as Plaintiffs point out, took place

when it was dark outside and lasted about 3–4 minutes—John Doe identified the

second-floor apartment of 3557 S. Damen as Roberts and Cavazos’ residence. Id. (Pls.’

Resp. DSOF ¶ 18).

      Defendants emphasize the undisputed fact that Officer Cappello and Sgt. Egan

brought John Doe before Judge Burns, at which time Judge Burns reviewed the

warrant application, including John Doe’s criminal history, and had an opportunity

to cross-examine John Doe. Defs.’ Reply/Cx-Resp. at 31. Judge Burns then approved

the search warrant. Id. Altogether, posit Defendants, this information provided by

John Doe, as well as their corroboration of the information and importantly, John

Doe’s appearance before Judge Burns, support probable cause.

      As stated above, Plaintiffs take issue with the reliability of much of this

information and methodology of obtaining it, including what was presented to Judge

Burns. Plaintiffs first attack John Doe’s reliability because he was an untested

informant. This argument is a non-starter. Although Plaintiffs are correct that John

Doe had not previously acted as an informant, as Defendants point out in reply, that

fact is “far from disqualifying” because “every informant necessarily provides

information for the first time.” Defs.’ Reply/Cx-Resp. at 32 (quoting United States v.

Koerth, 312 F.3d 862, 867 (7th Cir. 2002)); Edwards, 907 F.3d at 1057–58 (“[A]s we

have emphasized before, ‘[a]t the beginning of his work with the police, every



                                         16
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 17 of 39 PageID #:21430




informant necessarily provides information for the first time.’”) (quoting Guzman, 565

F.3d at 396); see also Weeks v. City of Chicago, 2014 WL 3865852, at *4 (N.D. Ill. Aug.

6, 2014) (“[A]lthough Doe had never previously worked with the police, this is not

fatal to a finding of probable cause.”).

      Plaintiffs acknowledge that being a first-time informant is not necessarily

disqualifying, but only when other Glover factors compensate for it, which they

maintain is not the case here. Pls.’ Resp./Cx-Memo. at 39–40 (“The mere fact that an

informant is untested weighs against a finding of probable cause, especially where

there is little or no corroboration.”) (citing United States v. Bell, 585 F.3d 1045, 1048

(7th Cir. 2009)). Bell is distinguishable, however, because among other things, the

warrant application did not include any information about how the informant knew

the target (he “could have been a rival drug dealer, an angry customer”), the

informant did not appear before the judge, the affidavit had minimal detail, as it did

not describe the quantity of drugs in the residence or how the informant was able to

identify the narcotics, the information could have been stale since the court had no

idea how long it had been since the informant had seen the gun. Bell, 585 F.3d at

1050. Here, in contrast, the affidavit detailed how long John Doe knew the targets,

described how he knew that the substances he saw were narcotics, and indicated

when he saw the narcotics in the target residence.

      Plaintiffs also contend that the circumstances surrounding John Doe’s tip

undermine his reliability. This argument is also unavailing. The fact that John Doe

was in police custody and facing charges does not “materially alter the probable cause



                                           17
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 18 of 39 PageID #:21431




analysis.” Edwards, 907 F.3d at 1058 (the fact that heroin user provided tip while

high and in custody did not “materially alter the probable cause analysis” since the

affidavit made it clear that the informant was a heroin user, the judge was provided

with his criminal history, and “the police certainly are not playing in foul territory by

choosing to talk to heroin users about where and from whom they buy heroin”); see

also United States v. Taylor, 471 F.3d 832, 840 (7th Cir. 2006) (“[A]n informant’s

criminality does not in itself establish unreliability.”). And, as in Edwards, here,

contrary to Plaintiffs’ claims—and even when viewing the evidence in the light most

favorable to Plaintiffs—the Defendants did not conceal or misrepresent the

circumstances surrounding John Doe’s arrest or his criminal history to Judge Burns.

       In support of that contention, Plaintiffs point to evidence that, at the hearing

before Judge Burns, neither Officer Cappello, Sgt. Egan, nor John Doe provided the

judge with any information outside of what was included in the complaint. See Pls.’

Resp./Cx-Memo. at 36 (citing PSOAF ¶¶ 21–23); R. 457-4, Cappello Dep. at 225:8–16

(everything that was in his complaint was presented to the judge and John Doe did

not present any information to the judge that was not included in the complaint).

However, as Defendants point out, the complaint affidavit references John Doe’s

criminal history, 10 and Officer Cappello testified that he gave the criminal history to

Judge Burns, who reviewed it, and that Officer Cappello told Judge Burns about John

Doe’s arrest from the day before. Defs.’ Reply/Cx-Resp. at 36 (citing DSOF ¶ 25; Defs.’

Resp. PSOAF 22–23). Based on these facts, the Court cannot conclude that


10Plaintiffs also admit this in their reply to their Statement of Additional Facts. Pls.’ Reply

PSOAF ¶ 22.
                                              18
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 19 of 39 PageID #:21432




Defendants intentionally or recklessly omitted any facts about John Doe’s criminal

history or arrest. See United States v. White, 2013 WL 3224456, at *4 (N.D. Ill. June

25, 2013), aff’d, 673 F. App’x 546 (7th Cir. 2016) (“[A]n inference of intention to

mislead or even a reckless omission cannot be drawn from the omission in this

instance because Officer O’Connor brought to Judge Chevere a file folder containing

Doe’s criminal history.”).

      On the other hand, it is undisputed that neither Defendants nor John Doe

informed Judge Burns about Officer Cappello’s oral promise of leniency in exchange

for the tip. From Plaintiffs’ perspective, this was another fact that Defendants

intentionally or recklessly withheld from Judge Burns and on which probable cause

depended. Pls.’ Resp./Cx-Memo. at 36, 40. The Court agrees with Defendants that the

omission of this fact was immaterial to the probable cause determination. Defs.’

Reply/Cx-Resp. at 37. “Facts are material if their omission was ‘necessary to the

judicial officer[’s] determination[ ] that probable cause existed.’” Wade v. Ramos, 2019

WL 1318368, at *7 (N.D. Ill. Mar. 22, 2019), aff’d, 26 F.4th 440 (7th Cir. 2022)

(quoting Suarez v. Town of Ogden Dunes, 581 F.3d 591, 596 (7th Cir. 2009)). As the

Seventh Circuit has stated, “an affidavit’s omission of an informant’s motive for

providing information necessarily essential to a probable cause determination,

especially when the informant is sufficiently reliable that probable cause would have

been found even if the motive were included.” Taylor, 471 F.3d at 840. Indeed, “courts

are aware that informants are frequently facing charges and hoping for deals.”

Molina ex rel. Molina v. Cooper, 325 F.3d 963, 970 (7th Cir. 2003) (finding omission



                                          19
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 20 of 39 PageID #:21433




of informant’s desire to make a deal from warrant application because informant’s

testimony was sufficiently reliable that probable cause would have been found even

if the informant’s motive had been included); see also United States v. Thompson, 139

F. App’x 724, 732 (7th Cir. 2005) (“[T]he fact that [the informant] was facing charges

and hoping for a deal would not surprise the judge or be likely to upset his probable

cause finding since informants are often facing charges and hoping for deals.”)

(cleaned up).

       The Court next tackles Plaintiffs’ argument, raised for the first time in their

cross-reply, that Defendants did not tell Judge Burns that John Doe was Roberts’

cousin. 11 Pls.’ Sur-Resp./Cx-Reply at 43 n.37. Usually, the Court will not consider an

argument or case asserted for the first time on reply. See Narducci v. Moore, 572 F.3d

313, 323 (7th Cir. 2009). However, Defendants relied on John Doe’s relationship with

Roberts in support of his reliability in their reply/cross-response, so the Court will

consider it. See Defs.’ Reply/Cx-Resp. at 31, 34. Even so, Plaintiffs fail to support this

argument regarding John Doe’s motive with any authority and thus have waived it.

United States v. Cisneros, 846 F.3d 972, 978 (7th Cir. 2017) (“We have repeatedly and

consistently held that perfunctory and undeveloped arguments, and arguments that

are unsupported by pertinent authority, are waived.”) (cleaned up). And, as stated




11Because neither party raises it, the Court does not consider the possibility that John Doe

used the term “cousin” colloquially, rather than meaning that he was related to Roberts. That
understanding would be supported by the fact that John Doe told Defendants that he had
known Roberts for 10 years. That said, while evaluating Defendants’ motion for summary
judgment, the Court must construe all inferences in Plaintiffs’ favor, and they argue that the
fact that Roberts is John Doe’s relative supports their argument about his lack of reliability,
so the Court considers Roberts to be his actual cousin.
                                              20
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 21 of 39 PageID #:21434




above, an informant’s motive (here, through his relationship to Roberts) is not

necessarily material where other details support probable cause. See Taylor, 471 F.3d

at 840. And, even if John Doe’s relationship to Roberts was material, the Court finds

that qualified immunity would still apply, as discussed below. See Archer v.

Chisholm, 870 F.3d 603, 615 (7th Cir. 2017) (cleaned up) (“[E]ven officers who

knowingly or recklessly submit an affidavit containing falsehoods may receive

qualified immunity if they show an objectively reasonable basis for believing that the

affidavit still demonstrated probable cause.”).

      Plaintiffs make much of the undisputed fact that Officer Capello’s only

independent investigation of John Doe’s information—his searches of the LEADS and

I-CLEAR databases—did not corroborate John Doe’s information that Roberts and

Cavazos resided at 3557 S. Damen, and that Defendants did not inform Judge Burns

of this fact. Pls.’ Resp./Cx-Memo. at 35–36. Focusing only on the lack of corroboration

evidenced by these databases (the Court addresses Officer Cappello’s failure to

conduct additional independent investigation below), the Court finds that the LEADS

and I-CLEAR results are immaterial to the probable analysis, because, as discussed

above, John Doe provided sufficiently detailed information to Defendants linking

Roberts and Cavazos to 3557 S. Damen. See Brock v. City of Chicago, 2018 WL

3574752, at *3 (N.D. Ill. July 25, 2018) (finding that the officer “did not need to

determine whether [the target], in fact, lived at [the target residence]—let alone that

he was on the lease or when exactly he stopped living there—to have had probable

cause to seek [the target’s] arrest. . . . [T]here was more than enough evidence for [the



                                           21
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 22 of 39 PageID #:21435




officer] to tie [the target] to the . . . address, and therefore to make it at least

reasonable for [the officer] to think that [the target] was selling drugs at that address

even if he did not live there.”); Horne v. Wheeler, 2005 WL 2171151, at *5 (N.D. Ill.

Sept. 6, 2005) (“It is not uncommon for criminals to conduct illegal activity at locations

other than their primary residence. The confidential informant provided officers with

sufficient information to establish both a reasonable probability that [the target] was

engaged in illegal activity and that illegal activity was occurring within the [target

residence]. Thus, the fact that [the target] did not reside at that address was

immaterial to the probable cause inquiry.”); see also Tate v. City of Chicago, 2024 WL

4333286, at *6 (N.D. Ill. Sept. 27, 2024) (“[I]t is not required that a target reside

somewhere for that residence to be constitutionally searched.”).

      Plaintiffs point to their police expert John Ryan’s testimony that databases

listed different addresses “cut against John Doe’s tip.” Pls.’ Sur-Resp./Cx-Reply at 46;

Pls.’ Resp./Cx-Memo. at 35. The Court accepts—as it must when evaluating

Defendants’ motion for summary judgment—Ryan’s statement that the databases’

failure to corroborate the address lessens the reliability of John Doe’s information,

but even so, Ryan’s testimony does not make the results material, especially in the

face of the above authority. (And, even if it was, the Court nonetheless would find

that qualified immunity applies, as discussed below.) Therefore, because it is

immaterial that the LEADS and I-CLEAR results did not show that Roberts or

Cavazos resided at 3557 S. Damen, it matters not that Defendants did not include

that information in the warrant application.



                                           22
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 23 of 39 PageID #:21436




      Finally, the Court addresses Plaintiffs’ argument that Defendants failed to

independently investigate or corroborate John Doe’s statements, and this failure

undermines any finding of probable cause. Plaintiffs emphasize that, apart from

searching the LEADS and I-CLEAR databases (which did not connect Roberts or

Cavazos to 3557 S. Damen), Defendants did not do any investigation independent

from John Doe or his statements. Pls.’ Resp./Cx-Reply at 33–35. Plaintiffs posit that

there were numerous independent investigatory steps that Defendants should have

taken, including, but not limited to, checking with or subpoenaing any utility

company providing service to the address/apartment; checking with any cable TV

service provider, cell phone carrier, or streaming internet service company;

contacting the landlord/property manager or attempt to find them; or requesting

access to Accurint for Law Enforcement or LexisNexis, even though CPD had access

to the use of both databases. See Pls.’ Sur-Resp./Cx-Reply at 46 & n.41. Defendants,

on the other hand, point out why many of these additional investigative steps were

not feasible or not commonly used in situations like this one. Defs.’ Reply/Cx-Resp. at

35–36. They argue that the additional investigative steps proposed by Plaintiffs

exceed what the law requires. Id. at 35–36, 38 (citing United States v. Hawthorne,

2014 WL 5461074, at *4 (N.D. Ill. Oct. 2, 2014), report and recommendation adopted,

2014 WL 5464347 (N.D. Ill. Oct. 20, 2014) (“[T]he question is not what more the police

could have done but whether what they did was sufficient. It is easy to second guess

the police, especially when the guesser is a highly skilled lawyer, well versed in the

often inconsistent outcomes of Fourth Amendment cases.”)).



                                          23
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 24 of 39 PageID #:21437




       Plaintiffs also point to the CPD Superintendent’s statement that CPD was “too

reliant on informants without third party or evidentiary corroboration.” Pls.’

Resp./Cx-Memo. at 33. 12 And Plaintiffs cite to COPA’s findings that: (1) Cappello

failed to adequately verify and corroborate information provided by John Doe; (2) Sgt.

Egan failed to ensure that Cappello completed a thorough search warrant

investigation; and (3) Lt. Dari failed to ensure that Cappello verified and corroborated

John Doe’s information by an independent investigation prior to approving the search

warrant. Pls.’ Sur-Resp./Cx-Reply at 38–39 (citing Pls.’ Suppl. SOAF ¶ 141; R. 519,

COPA Report).

       Defendants object to the admissibility of the COPA report, arguing that

whether Defendants violated CPD general orders, rules, regulations, or directives is

irrelevant to Plaintiffs’ § 1983 claims against them. Defs.’ Resp. Suppl. PSOAF ¶ 141

(citing Fed. R. Evid. 401, 402). Additionally, Defendants argue that the report is

inadmissible because any relevance it has is outweighed by its prejudicial value

under Rule 403. Id. And finally, citing Thompson v. City of Chicago, Defendants

contend that, “the violation of police regulations or even a state law is completely

immaterial to the question of whether a violation of the federal constitution has been



12Defendants object to Superintendent Brown’s statement as hearsay, as Plaintiffs supported

it by citing to a transcript of a CBS news video. Defs.’ Resp. PSOAF ¶ 1 (citing Perkins v.
Milwaukee County, 781 Fed. Appx. 538, 542–43 (7th Cir. 2019) (“Media reports offered for
the truth of the matter asserted. . . are inadmissible hearsay.”)). Plaintiffs correctly point out,
however, that “[t]o be considered on summary judgment, the evidence must be admissible at
trial, though the form produced at summary judgment need not be admissible.” Pls.’ Reply
PSOAF ¶ 1 (quoting Cairel v. Alderden, 821 F.3d 823, 830 (7th Cir. 2016)). Defendants admit
that Superintendent Brown made the quoted statement, and Plaintiffs indicate that they
could call him at trial, at which time his statements would be admissible as statement of a
party-opponent under Federal Rule of Evidence 801(d)(2)(A) and 801(d)(2)(D). Id.
                                                24
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 25 of 39 PageID #:21438




established.” Id. (quoting 472 F.3d 444, 454–55 (7th Cir. 2006)); see also Defs.’

Reply/Cx-Resp. at 36.

      A court “may consider only admissible evidence in assessing a motion for

summary judgment.” Gunville v. Walker, 583 F.3d 979, 985 (7th Cir. 2009). Therefore,

evidence must be relevant under Rule 401. See, e.g., Reed v. City of Chicago, 2006 WL

1543928, at *4 (N.D. Ill. June 1, 2006). And, “while it is not unheard of to exclude

evidence under Rule 403 at the summary judgment stage, normally the balancing

process contemplated by that rule is best undertaken at the trial itself.” Adams v.

Ameritech Servs., Inc., 231 F.3d 414, 428 (7th Cir. 2000) (cleaned up).

      In Thompson, a case involving a Section 1983 excessive force claim, the district

court granted the defendant’s motion in limine seeking to exclude “any reference in

testimony, evidence or argument to the CPD’s General Orders, policies and

procedures.” Id. at 449–50. The Seventh Circuit affirmed, explaining that while

evidence, testimony or argument concerning possible violations of General Orders,

rules, or regulations may be relevant to “discipline, promotion or salary decisions”

made by the defendant’s superiors, that kind of information is “immaterial” to the

jury’s determination of whether the use of force at issue in the particular case was

objectively reasonable under the circumstances (the federal constitutional standard),

and was therefore “properly excluded” in rulings on motions in limine. Id. at 455; see

also Lyles v. Gambino, 2019 WL 5654227, at *2 (N.D. Ill. Oct. 31, 2019) (“It appears

to be beyond debate in this Circuit that the violation of police regulations or even a

state law is completely immaterial as to the question of whether a violation of the



                                          25
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 26 of 39 PageID #:21439




federal constitution has been established in § 1983 claims.”) (cleaned up) (collecting

cases).

       Plaintiffs correctly point out, however, that the Seventh Circuit has since

clarified that “Thompson should not be understood as establishing a rule that

evidence of police policy or procedure will never be relevant to the objective-

reasonableness inquiry.” Pls.’ Reply Pls.’ Suppl. PSOAF ¶ 141 n.9 (quoting United

States v. Brown, 871 F.3d 532, 537 (7th Cir. 2017)). But the passage cited by Plaintiffs

pertains to the use of expert testimony concerning police policy, which the Seventh

Circuit has stated is not “categorically barred.” Id. As the Seventh Circuit explained,

“[e]xpert testimony of this type may be relevant in cases where specialized knowledge

of law-enforcement custom or training would assist the jury in understanding the

facts or resolving the contested issue.” Id. The evidence at issue here is not expert

testimony regarding Defendants’ departures from CPD policies on the procurement

of search warrants, but rather COPA and CPD’s findings on the same. Pls.’ Reply

Pls.’ Suppl. PSOAF ¶ 141.

       The Court must determine whether such evidence is admissible. Plaintiffs rely

on Godinez v. City of Chicago, 2019 WL 5592721, at *7 (N.D. Ill. Oct. 30, 2019) 13 in

support of their contention that COPA’s findings are relevant and admissible. In

Godinez, the parties filed cross-motions for summary judgment on the plaintiff’s


13Usually, argument presented in statements of fact or responses thereto is impermissible.

See Cady v. Sheahan, 467 F.3d 1057, 1060 (7th Cir. 2006). However, because Plaintiffs cite
Godinez only as it pertains to Defendants’ objection to relevancy raised in Defendants’
response to Plaintiffs’ supplemental statement of fact (both of which were filed after briefing
concluded), the Court considers the authority cited by the parties in the statement of fact and
response/reply thereto. C.f. N.D. Ill. Local R. 56.1(e)(2).
                                              26
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 27 of 39 PageID #:21440




excessive force and failure to intervene claims. Id. at *1. IPRA/COPA and the CPD

Superintendent found that the defendant officers used excessive force, and that

another officer failed to intervene. Id. at *7. The court, relying on Brown, 871 F.3d at

537, disagreed with the defendants that those findings were immaterial. Godinez,

2019 WL 5592721, at *7. However, it found that the IPRA/COPA and CPD findings

did not conclusively establish a constitutional violation, and therefore denied the

plaintiffs’ summary judgment motion. Id. (citing Brown, 871 F.3d at 536–37 (“The

excessive-force inquiry is governed by constitutional principles, not police-

department regulations. An officer’s compliance with or deviation from departmental

policy doesn’t determine whether he used excessive force.”); Abdullahi v. City of

Madison, 423 F.3d 763, 772 (7th Cir. 2005) (expert testimony about violations of

standard police practices are not dispositive but may be relevant to the

reasonableness inquiry)). The Godinez court also found that the IPRA/COPA finding

was evidence precluding the defendants’ cross-motion for summary judgment on

excessive force and failure to intervene. Id. The court also found that there were

numerous other disputed facts about excessive force that were appropriate for a jury.

Id.

      At least at this stage, based on the materials before the Court, it finds, as did

the Godinez court, that COPA Report and Superintendent’s findings are relevant.

That is not the end of the analysis, however. The court in Godinez did not address the

question of whether the IPRA/COPA and CPD findings would mislead the jury under

Rule 403; rather it analyzed only whether the findings were relevant to the excessive



                                          27
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 28 of 39 PageID #:21441




force inquiry. See 2019 WL 5592721, at *7. True, as stated above, often the Rule 403

balancing process is better left for trial, Adams, 231 F.3d at 428; however, the Court

finds it to be clear-cut that COPA’s findings on the allegations (that is, the findings

of sustained, not sustained, unfounded, or exonerated) are more prejudicial than

probative. That is, the Court agrees with Defendants that admitting COPA’s findings

that Defendants violated CPD policy and rules, which are an amalgamation of

departmental-specific rules, state law, and federal law, would confuse and mislead

the jury. See Defs.’ Resp. Pls.’ Suppl. PSOAF ¶ 141. Indeed, one of the cases cited by

Plaintiffs in support of the admission of these findings implies (admittedly in dicta)

the same. Pls.’ Reply Pls.’ Suppl. PSOAF ¶ 141 (citing Sanchez v. City of Chicago, 700

F.3d 919, 930 (7th Cir. 2012)). There the Seventh Circuit found that the district court

did not abuse its discretion in allowing limited testimony from an IPRA investigation,

stating, “[i]t is important to emphasize first that [the investigator] said nothing about

the IPRA’s conclusion as to the . . . incident; his testimony was confined to the

collateral allegation [about the defendant officers alleged threat of retaliation], [s]o

the testimony did not invade the jury’s province to decide what occurred.” Sanchez,

700 F.3d at 930. Here, the Court finds that IPRA’s finding, sustaining the allegations

that several Defendants failed to adequately verify and corroborate John Doe’s

information before acquiring or executing the search warrant runs the risk of

“invad[ing] the jury’s province,” or at the very least, confusing them. COPA Report at

2, 5; Sanchez, 700 F.3d at 930.




                                           28
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 29 of 39 PageID #:21442




      Without more from the parties on the issue, however, the Court declines to

categorically bar under Rule 403 COPA’s more specific evidentiary findings relied on

by Plaintiffs, such as its findings that Capello did not take six corroborative steps

available to him, and that, instead of asking for assistance when LEADS and I-

CLEAR did not confirm the targets’ addresses, he relied on John Doe “to validate his

own narrative.” Pls.’ Sur-Resp./Cx-Reply (quoting COPA Report at 21–22). The Court

finds such findings to be more in line with admissible expert testimony. See, e.g.,

Jimenez v. City of Chicago, 732 F.3d 710, 721 (7th Cir. 2013) (expert testimony was

properly admitted where he “testified only about reasonable investigative procedures

and ways in which evidence from other witnesses did or did not indicate departures

from those reasonable procedures.”). Of course, it goes without saying that COPA is

not the same as an expert witness, so the Court stresses that it is considering this

evidence at this stage only, and will consider further arguments, if necessary, in

motions in limine as to the admissibility about COPA’s evidentiary findings.

      Even considering these evidentiary findings, the Court finds that Edwards,

cited by Defendants in their opening memorandum and in their response to Plaintiffs’

Supplemental Statement of Fact, is dispositive. The Court agrees with Defendants

that the facts in Edwards are substantially similar to the facts of this case. In

Edwards, the john doe gave specific information, based on his own firsthand

observations, regarding his recent heroin purchase from the target, such as the

quantity of drugs purchased, the quantity the target possessed, the target’s offer to

sell him more in the future, and the fact that he knew it was heroin because he had



                                         29
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 30 of 39 PageID #:21443




ingested it. Id. at 1057. Similar to what Defendants characterize as their

corroboration here, in Edwards, the officer corroborated the john doe’s information

by having him identify a photo of the house, driving him past the location, and having

him identify a photo of the target. Id. One day passed between the john doe’s heroin

purchase and when the warrant was submitted and the john doe appeared before the

judge. Id. The Seventh Circuit acknowledged that the officers “largely took Doe at his

word without independently corroborating much of his account. While the officers

took steps to have Doe confirm the identity of the house and [the target], they did not

seek corroboration outside of Doe himself. . . . Put differently, the steps the police took

gave them some additional information, but did not directly bolster Doe’s account

that [the target] was dealing heroin at the [target residence].” Id. at 1058 (cleaned

up). Nevertheless, the court found that it must “view the corroborative efforts the

police took against the multiple other factors strongly supporting a finding of

probable cause. And here those facts added up to probable cause.” Id.

      Plaintiffs   attempt    to   distinguish   Edwards      in   their   response/cross-

memorandum, by pointing out that in Edwards, the informant’s information was

from the same day, he gave information against his penal interest, and the affiant-

officer had not withheld any credibility-damning statements from the judge. Pls.’

Resp./Cx-Memo. at 39–40 (citing 907 F.3d at 1055–56, 1057). As to the time between

the information and the issuance/execution of the warrant, as the Court noted above,

the Seventh Circuit has held that 3-day-old information is not “stale.” See Searcy, 664

F.3d at 1122. Similarly, the Court already found that Defendants did not withhold



                                            30
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 31 of 39 PageID #:21444




any material facts from Judge Burns. Finally, Plaintiffs do not explain why the

information provided by the john doe in Edwards—that is, that he had purchased

heroin from the target on other occasions and injected himself with purchased heroin

after buying it from the target, 907 F.3d at 1057—is any more against his penal

interest than the statements John Doe made to Defendants here. That is, it is

undisputed evidence here is that John Doe informed Defendants that he had been

dealing drugs for Roberts for over a year, DSOF ¶ 6, which is arguably more

incriminating that simply buying heroin for personal use. And, for the reasons

discussed above, the Court finds that Defendants did not withhold any material

information about John Doe’s reliability from Judge Burns.

      True, there was no evidence in Edwards regarding COPA’s evidentiary

findings about any deficiencies in the defendant officer’s investigation. The Court

finds that not to be determinative, however. As stated above, the Court considers

COPA’s findings that, among other things, instead of asking for assistance when

LEADS and I-CLEAR did not confirm the targets’ addresses, Capello relied on John

Doe “to validate his own narrative.” Pls.’ Sur-Resp./Cx-Reply (quoting COPA Report

at 21–22). Certainly, COPA’s evidentiary findings are evidence of a deficiency in

Glover’s “degree of corroboration” factor. But, as described above, no one factor is

determinative, so “a deficiency in one factor may be compensated for by a strong

showing in another or by some other indication of reliability.” Peck, 317 at 756. Here,

as discussed above, the facts of this case, including the steps Defendants took to

corroborate John Doe’s information, are nearly on all fours with the facts in Edwards,



                                          31
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 32 of 39 PageID #:21445




where the Seventh Circuit found that the facts added up to probable cause. 907 F.3d

at 1058. The Court finds Edwards, which is binding on this Court, to support a finding

of probable cause here too.

         Therefore, the Court finds that Defendants are entitled to summary judgment

on Count II as it pertains to procurement of the search warrant. Even if there was

some deficiency in the complaint for the warrant or the warrant itself, however, the

Court finds that Defendants would still not be liable because they are entitled to

qualified immunity.

   II.      Qualified Immunity

         In assessing qualified immunity, a court “must ask two questions: ‘(1) whether

the facts, taken in the light most favorable to the plaintiff, show that the defendants

violated a constitutional right; and (2) whether that constitutional right was clearly

established at the time of the alleged violation.’” Edwards, 907 F.3d at 1060 (quoting

Betker v. Gomez, 692 F.3d 854, 860 (7th Cir. 2012)). The Court must “conduct this

inquiry against the backdrop of the Supreme Court’s repeated (and recent) reminders

not to define clearly established law at a high level of generality.” Id. (cleaned up).

         “Describing relevant precedent abstractly evades the crucial question at the

core of any qualified immunity analysis: whether the official acted reasonably in the

particular circumstances that he or she faced.” Sabo v. Erickson, 2025 WL 354484, at

*4 (7th Cir. Jan. 31, 2025) (cleaned up). A rule of law is too generally defined “if the

unlawfulness of the officer’s conduct does not follow immediately from the conclusion

that [the rule] was firmly established.” Id. (cleaned up). True, “existing precedent



                                           32
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 33 of 39 PageID #:21446




need not be directly on point to clearly establish an alleged right.” Id. (cleaned up).

Indeed, “[i]n truly egregious cases, a more general rule may apply with obvious clarity

to the specific conduct in question.” Id. (cleaned up). Where, however, “the

reasonableness of an officer’s actions depends on the circumstances, . . . plaintiffs

must define clearly established law with much more specificity.” Id.

      At bottom, qualified immunity “‘protects all but the plainly incompetent or

those who knowingly violate the law.’” Edwards, 907 F.3d at 1060 (quoting Kisela v.

Hughes, 584 U.S. 100, 103 (2018)).

      When defendants invoke the qualified immunity defense in a case involving an

invalid search warrant claim, plaintiffs must do more than demonstrate that the

warrant lacked probable cause. Officers who execute an invalid warrant are “still

entitled to qualified immunity if [they are] acting pursuant to a warrant that was

authorized by a judge and [their] action is reasonable.” Archer, 870 F.3d at 614. To

overcome Defendants’ qualified immunity defense, Plaintiffs must demonstrate that

either “(1) courts have clearly held that a materially similar affidavit previously failed

to establish probable cause under facts that were indistinguishable from those

presented in the case at hand; or (2) the affidavit is so plainly deficient that any

reasonably well-trained officer would have known that his affidavit failed to establish

probable cause and that he should not have applied for the warrant.” Junkert v.

Massey, 610 F.3d 364, 369 (7th Cir. 2010) (cleaned up). The standard is adopted from,

and similar to, the standard for the good-faith exception to the exclusionary rule set

forth in United States v. Leon, 468 U.S. 897 (1984).



                                           33
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 34 of 39 PageID #:21447




        It does not appear that Plaintiffs rely on the first prong, and indeed they

appear to concede that fact in their sur-response/cross-reply. Pls.’ Sur-Resp./Cx-Reply

(“[W]here a general constitutional rule applies with obvious clarity plaintiffs are not

required to cite prior decisions with identical factual circumstances.”). To the extent

Plaintiffs argue that they have presented a case with indistinguishable facts, the

Court disagrees, as discussed below. Their primary argument against qualified

immunity falls into the second category—“that the criminal complaint was ‘so lacking

in indicia of probable cause as to render . . . belief in its existence unreasonable.’”

Wade, 2019 WL 1318368, at *10 (quoting Archer, 870 F.3d at 603).

        Starting with the first prong, the Court agrees with Defendants that the cases

cited by Plaintiffs are distinguishable, such that Defendants meet the standard for

qualified immunity on the first prong. Plaintiffs cite to fifteen cases in two footnotes

in support of the proposition that, on summary judgment affiants are denied qualified

immunity (or the good faith exception in criminal cases) when they fail to corroborate

information from an informant of unknown reliability and rely solely on the

informant’s uncorroborated tip. Pls.’ Resp./Cx-Memo. at 41 nn.37–38. The first case

cited was decided at the motion to dismiss stage, so the Court finds it inapposite.

Phillips v. City of Chicago, 2021 WL 1614503, at *2 (N.D. Ill. Apr. 26, 2021). None of

the cases decided at summary judgment are directly on-point, either. 14


14See  Stamps v. Hernandez, 2010 WL 3713686, at *4 (N.D. Ill. Sept. 14, 2010) (granting
summary judgment for plaintiffs against defendants on their unreasonable search and
seizure claim based on validity of the warrant where confidential informant had informed
officer about which of two apartment doors on 3rd floor led to the target, but officer included
only “3rd floor apartment.” The holding did not hinge on the information from or reliability
of the confidential informant but rather what the officers did (or did not do) with that
                                              34
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 35 of 39 PageID #:21448




       The Court turns to Plaintiffs’ argument that no reasonable officer would have

applied for a warrant based on the information possessed and steps taken by

Defendants. Pls.’ Resp./Cx-Memo. at 40–42. Plaintiffs note that the duty to

independently corroborate a John Doe’s statement was clearly established in 2012–

2015 in CPD’s search warrant policy and training. Id. at 41–42 (citing PSOAF ¶¶ 62–

63). Defendants do not address this argument in their reply/cross-response and

therefore have waived the argument. See In re GT Automation Grp., Inc., 828 F.3d

602, 605 (7th Cir. 2016) (“An argument not responded to is ordinarily deemed

waived.”). No matter, however, because, “[a]lthough qualified immunity is an

affirmative defense, the plaintiff has the burden of defeating it once the defendants

raise it.” Archer, 870 F.3d at 613. Even in the face of CPD policy, the Court cannot

say that the criminal complaint was “so lacking in indicia of probable cause as to

render . . . belief in its existence unreasonable.”



information.); McCadd v. Murphy, 763 F. Supp. 2d 1018 (N.D. Ill. 2010) (officers not entitled
to summary judgment on invalid search warrant claim where the john doe told officers he
had bought crack from a man with the same name as plaintiff, where only corroboration
police did was to look up plaintiff’s criminal history which showed a cocaine possession
charge, show a photograph of the residence to the john doe, and show 5-year-old photo of
plaintiff to the john doe; the court did not discuss whether the john doe appeared in front of
the judge who issued the warrant, and the police did not drive the john doe by the residence);
Draine v. Bauman, 708 F. Supp. 2d 693, 708 (N.D. Ill. 2010) (no probable cause and officers
not entitled to qualified immunity where informant’s identity was unknown (“he was a real
John Doe”), he could not identify target from a photo, did not describe the inside of the house
or the amount of drugs he saw or purchased, and did not know the exact location or address
of the building where the drug transactions occurred, instead giving a vague location of the
building, and the affiant officer did not know anyone by the target’s name selling drugs in
the area); United States v. McNeal, 82 F. Supp. 2d 945, 956, 961 (S.D. Ind. 2000) (good faith
exception did not apply where affidavit summarily stated the target residence was under the
target’s control, but that statement was neither supported by observations of the confidential
informant or officer, nor by any other method of investigation). The Court does not discuss
each out-of-Circuit case cited by Plaintiffs, but finds that none of them constitutes a closely
analogous case.
                                              35
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 36 of 39 PageID #:21449




      Again, Edwards is instructive. The Seventh Circuit noted that, “[t]ime and

again we have upheld warrants based on an informant’s recent and firsthand account

of criminal activity.” 907 F.3d at 1060. It rejected the plaintiff’s challenge to the

qualified immunity defense, stating:

      Nor does the officers’ minimal corroboration show a reckless disregard for the
      truth sufficient to overcome qualified immunity, especially in light of the other
      factors indicating the reliability of Doe’s information. At the time they applied
      for the warrant, Doe had identified the residence on South Keeler as the drug
      house, from a picture and in person. The officers had no reason to doubt the
      accuracy of this information and instead, may have reasonably assumed that
      someone with a drug habit would be able to identify the house where he had
      recently purchased drugs. The affidavit outlined the steps that Jolliff-Blake
      took to corroborate Doe’s account. Armed with this information, the state judge
      could have told the police that they needed to do more investigation; by issuing
      the warrant instead, the judge entitled the police to search without the risk of
      personal liability.

Id. at 1062 (cleaned up). As discussed above, the facts the Seventh Circuit found to

support the john doe’s reliability are substantially similar to the facts in this case:

when Defendants applied for the warrant, John Doe had identified 3557 S. Damen as

the target residence, from a picture and in person during a drive-by. He also gave

detailed instructions about how to access the apartment unit. DSOF ¶ 10.

Additionally, the corroboration conducted by officers in Edwards was substantially

similar to the corroboration conducted by Defendants here—they “did not seek

corroboration outside of Doe himself.” 907 F.3d at 1058. And, as in Edwards, John

Doe appeared before, and was questioned by, a judge.

      Plaintiffs also contend that Defendants procured the warrant in reckless

disregard for the truth because they concealed material facts that undercut Judge

Burns’ probable cause analysis. Pls.’ Resp./Cx-Memo. at 42. For the reasons described

                                          36
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 37 of 39 PageID #:21450




above, the Court finds that none of the facts that Defendants omitted from the

warrant application were material such that they invalidated the warrant.

       The Court must note that, as COPA found and the Superintendent stated,

clearly there was more Defendants could have and should have done to verify the

correct address and apartment. However, for the reasons discussed above, officers are

not legally liable for every lacking investigation, especially in the face qualified

immunity. Like in Edwards, the Court finds that Defendants are entitled to qualified

immunity based on their reasonable belief that the affidavit established probable

cause even though it left “much to be desired.” 907 F.3d at 1062 (quoting Junkert, 610

F.3d at 370).

   III.    Supervisory Liability

       Plaintiffs argue that the undisputed evidence shows that Sgt. Egan and Lt.

Dari 15 failed to properly supervise Officer Cappello’s search warrant investigation

that resulted in the illegal search of Plaintiffs’ apartment. Pls.’ Resp./Cx-Memo. at

43; Pls.’ Sur-Resp./Cx-Reply at 48–49, 53–56. Pursuant to § 1983, a supervisor “may

be personally liable for the acts of his subordinates if he approves of the conduct and

the basis for it.” Backes v. Vill. of Peoria Heights, 662 F.3d 866, 869–70 (7th Cir. 2011)

(cleaned up). To be found liable under supervisory liability, supervisors must act


15As stated above, Lt. Dari was not named in Count III in Plaintiffs’ Fourth Amended
Complaint. The Seventh Circuit recently held that “district courts retain discretion to
interpret new factual allegations or claims presented in a plaintiff's briefs as a constructive
motion to amend.” Schmees v. HC1.COM, Inc., 77 F.4th 483, 488 (7th Cir. 2023). Because of
the Court’s finding on probable cause, the analysis on supervisory liability is limited, and the
Court therefore finds that it is most efficient, and does not prejudice either party, to construe
the Fourth Amended Complaint as alleging Count III for supervisory liability against Lt.
Dari in addition to Sgt. Egan.
                                               37
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 38 of 39 PageID #:21451




either knowingly or with deliberate, reckless indifference in that they “must know

about the conduct and facilitate it, approve it, condone it, or turn a blind eye for fear

of what they might see.” Id. Supervisors who are merely negligent, or even grossly

negligent, are not liable under § 1983. Jones v. City of Chi., 856 F.2d 985, 992 (7th

Cir. 1988). “There can be no supervisory . . . liability without an underlying

deprivation of constitutional rights.” Smith v. Vill. of Norridge, 2009 WL 210458, at

*11 (N.D. Ill. Jan. 22, 2009) (citing Houskins v. Sheehan, 549 F.3d 480, 493–94 (7th

Cir. 2008)).

      Because the Court finds that the search warrant was not invalid for probable

cause, it agrees with Defendants that Sgt. Egan and Lt. Dari cannot be held liable

under a supervisory liability theory for the procurement of the search warrant. Defs.

Memo. at 17 (citing Smith, 2009 WL 210458, at *11).

      And, for the same reasons discussed above, the Court finds that Sgt. Egan and

Lt. Dari are also entitled to qualified immunity on the supervisory liability claim, as

no “reasonably well-trained officer would have known that the search was illegal

despite the judge’s authorization.” Draine v. Bauman, 708 F. Supp. 2d 693, 708 (N.D.

Ill. 2010). Under that lens and for the reasons articulated above, the Court cannot

find that Sgt. Egan or Lt. Dari acted knowingly or with a deliberate, reckless

indifference during the procurement of the search warrant in that they conducted,

facilitated, approved, condoned, or turned a blind eye to any misconduct. See Backes

v. Vill. of Peoria Heights, 662 F.3d 866, 869–70 (7th Cir. 2011).




                                           38
 Case: 1:18-cv-05560 Document #: 610 Filed: 02/07/25 Page 39 of 39 PageID #:21452




                                   Conclusion

      For the foregoing reasons, the Court grants Defendants’ motion for summary

judgment as to Counts II and III as they relate to the validity of the warrant. The

Court denies Plaintiffs’ cross-motion on the same. The Court will issue a subsequent

Order addressing the parties’ cross-motions for summary judgment on the other

claims (including Count II’s Fourth Amendment illegal search claim based on

Defendants’ failure to knock and announce).



Dated: February 7, 2025
                                              United States District Judge
                                              Franklin U. Valderrama




                                        39
